pgom; Case 2:02-cr-20162-.]PI\/| Document 93 Filed 07/12/05 Page 10f2 Page|D 109

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for 05 JUL l2 PH l2: 35
wESIERN DISTRICT on TENNESSEE MWHMD
W/D QF dealings
MEMP§IS nmsloN
U.s.A. vs. BABLABA PATRIQK pocket Ne. 2=02€_1§;0162-0§

Petition on Probatiou and Supervised Rele_ase

COMES NOW NICOLE D. PETEMON PROBATION OFFICER OF THE COURT presenting an
official report upon the conduct and attitude of Barbara Patric§ who was placed on supervision by the Honorable
Jgn Pl_npp` s MCalla sitting inthe Court at MMhis, TN on the _1_‘5_$ day ofNovember Z(_)_{)_Z_ who erd the period
of supervision at five [§) Le_zlrs_, and imposed the general terms and conditions theretofore adopted by the Court and
also imposed special conditions and terms as follows:

 

1. Pay restitution in the amount of $30,000 (outstanding balance: $29,870.00).
RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
Aiter reviewing Barbara Patrick’s monthly income and necessary expenses, it appears that ten percent (10%) of her

monthly gross income is an appropriate payment plan.

PRA¥ING 'I`HAT THE COURT WILL ORDER that Barbara Patrick’s restitution payments be set ten (10%)
percent of her gross monthly income.

 

onl)ER oF coURT Respeerruuy,
considered end egdered this g day MLM
of <Fe\ , 20 93 add ordered nled end Nieele D. Pecersen "`
made a part of the r@`t§:n the above case. U.S. Probation OH`icer
(_
®"O U\{\ Place Megphis, TM

 

Ued states Discriee Judge
Date july 8, 2005

Thls document entered on the docket sheet in com |ianea f
with Rule 55 and/or 32(b) FRC¥P on 12 12 16

   

UNITED sETATSDlSTRICT COURT - WERSTE DISTRICT TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 93 in
case 2:02-CR-20162 was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listed.

 

 

Stuart J. Canale

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

